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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION AT DAYTON

 UNITED STATES OF AMERICA,                   :   Case No. 3:20-mj-309
                                             :
          Plaintiff,                         :   Magistrate Judge Sharon L. Ovington
                                             :
 vs.                                         :
 FRANKLIN PRINTUP,                           :
                                             :
          Defendant.                         :
                                             :


                       REMOVAL AND COMMITMENT ORDER


         This case came to be heard pursuant to Fed. R. Crim. P. 5(c)(3). Defendant herein

was arrested in this District on a warrant issued upon alleged violations of supervised

release in the United States District Court, Eastern District of Kentucky, in Case No.

5:16-cr-54. Defendant appeared in Court on July 6, 2020, and after being advised of his

rights, waived his right to an identity hearing. Defendant requested that a preliminary

hearing be held in the Eastern District of Kentucky.

         IT IS ORDERED THAT THE DEFENDANT BE REMOVED TO THE

United States District Court for the Eastern District of Kentucky for any other

proceedings, as ordered by that court.

         TO THE UNITED STATES MARSHAL:

         You are hereby commanded to take custody of the above-named Defendant and to

transport that Defendant with a copy of this commitment forthwith to the district of

offense as specified above and there deliver the Defendant to the Unites States Marshal
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for that District or to some other officer authorized to receive the Defendant, all

proceedings required by Fed. R. Crim. P. 5 having been completed.

July 6, 2020                                      s/Sharon L. Ovington
                                                  Sharon L. Ovington
                                                  United States Magistrate Judge




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